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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

LORI CANINI,                     ) Civil Action No. 4:23-cv-02625
                                 )
               Plaintiff,        )
                                 ) DEFENDANTS’ ANSWER TO
                                 ) PLAINTIFF’S COMPLAINT
v.                               )
                                 )
                                 )
                                 )
                                 ) Judge Keith P. Ellison
                                 )
CIGNA HEALTH AND LIFE INSURANCE  )
COMPANY AND EVERNORTH BEHAVIORAL )
HEALTH, INC.,                    )
                                 )
               Defendants.       )




         Defendants Cigna Health and Life Insurance Company and Evernorth Behavioral Health,

Inc. (together, “Cigna”), through undersigned counsel, submit their Answer to Plaintiff’s

Complaint (“Complaint”) (Doc. No. 1) by responding as follows:

         With respect to the paragraph between the headings “Plaintiff’s Original Complaint” and

“Parties,” Cigna denies each and every allegation as alleged and respectfully refers all questions

of law to the Honorable Court.

         1.     Cigna lacks knowledge or information sufficient to form a belief as to the truth of

each and every allegation in paragraph “1” of the Complaint and therefore denies the same.

         2.     Denies each and every allegation in paragraph “2” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that Cigna

Health and Life Insurance Company is headquartered in Connecticut.



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         3.    Denies each and every allegation in paragraph “3” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that Evernorth

Behavioral Health, Inc. is headquartered in Minnesota.

         4.    Denies each and every allegation in paragraph “4” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that this Court

has jurisdiction pursuant to 29 U.S.C. §1132(e) and that the Employee Retirement Income Security

Act of 1974, as amended, 29 U.S.C. §1001, et seq. (“ERISA”) governs this dispute.

         5.    Denies each and every allegation in paragraph “5” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         6.    Denies each and every allegation in paragraph “6” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court

         7.    Denies each and every allegation in paragraph “7” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that, at all

relevant times, Plaintiff was a participant in an employee welfare benefit plan (the “Plan”)

provided through her employment with JPMorgan Chase & Co. (“JPMorgan”), which Plan

includes healthcare benefits, and further admits that the Plan is an employee welfare benefit plan

governed by ERISA.

         8.    Denies each and every allegation in paragraph “8” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that, at all

relevant times, Plaintiff was a participant in the Plan provided through her employment with

JPMorgan, and further admits that the Plan Sponsor is JPMorgan Chase Bank, NA.

         9.    Denies each and every allegation in paragraph “9” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that benefits




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under the portion of the Plan covering the Plaintiff are self-funded by JPMorgan and that, at all

relevant times, Cigna Health and Life Insurance Company served as a claims administrator for

the Plan.

         10.   Denies each and every allegation in paragraph “10” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that, at all

relevant times, Evernorth Behavioral Health, Inc. served as a claims administrator for the Plan,

and further admits that the designated Plan Administrator is JPMorgan Chase U.S. Benefits

Executive c/o JPMorgan Chase Benefits Administration.

         11.   Denies each and every allegation in paragraph “11” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         12.   Denies each and every allegation in paragraph “12” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that, at all

relevant times, Plaintiff was a participant in the Plan provided through her employment with

JPMorgan, which Plan includes healthcare benefits.

         13.   Denies each and every allegation in paragraph “13” of the Complaint as alleged,

respectfully refers all questions of law to the Honorable Court, and respectfully refers to the Plan

document governing Plaintiff’s claims at issue for the terms, conditions, limitations, and

exclusions set forth therein.

         14.   Denies each and every allegation in paragraph “14” of the Complaint as alleged,

respectfully refers all questions of law to the Honorable Court, and respectfully refers to the Plan

document governing Plaintiff’s claims at issue for the terms, conditions, limitations, and

exclusions set forth therein.




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         15.   Denies each and every allegation in paragraph “15” of the Complaint as alleged,

respectfully refers all questions of law to the Honorable Court, and respectfully refers to the Plan

document governing Plaintiffs’ claims at issue for the terms, conditions, limitations, and

exclusions set forth therein.

         16.   Denies each and every allegation in paragraph “16” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         17.   Cigna’s knowledge of Plaintiff’s medical and treatment history is limited to the

records that Cigna had access to during the course of its review of Plaintiff’s benefits claim.

Cigna respectfully refers the Court to the complete administrative record pertaining to Plaintiff’s

claim kept and maintained by Cigna in the regular course and scope of its business for the

information accessible to Cigna at the time of its benefits determination, and otherwise denies

the allegations in paragraph “17” of the Complaint based on lack of firsthand knowledge or

information sufficient to form a belief as to the truth of such allegations.

         18.   Cigna’s knowledge of Plaintiff’s medical and treatment history is limited to the

records that Cigna had access to during the course of its review of Plaintiff’s benefits claim.

Cigna respectfully refers the Court to the complete administrative record pertaining to Plaintiff’s

claim kept and maintained by Cigna in the regular course and scope of its business for the

information accessible to Cigna at the time of its benefits determination, and otherwise denies

the allegations in paragraph “18” of the Complaint based on lack of firsthand knowledge or

information sufficient to form a belief as to the truth of such allegations.

         19.   Cigna’s knowledge of Plaintiff’s medical and treatment history is limited to the

records that Cigna had access to during the course of its review of Plaintiff’s benefits claim.

Cigna respectfully refers the Court to the complete administrative record pertaining to Plaintiff’s




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claim kept and maintained by Cigna in the regular course and scope of its business for the

information accessible to Cigna at the time of its benefits determination, and otherwise denies

the allegations in paragraph “19” of the Complaint based on lack of firsthand knowledge or

information sufficient to form a belief as to the truth of such allegations.

         20.   Denies each and every allegation in paragraph “20” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         21.   Denies each and every allegation in paragraph “21” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that Plaintiff was

admitted to Discovery Practice Management, Inc. (“Discovery”) on or about August 11, 2022.

         22.   Denies each and every allegation in paragraph “22” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that, by letter

dated August 15, 2022, Cigna issued an initial adverse benefit determination with respect to

Plaintiff’s claim for benefits under the Plan in connection with her residential treatment at

Discovery as of August 11, 2022.

         23.   Denies each and every allegation in paragraph “23” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to




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the facts and circumstances recorded therein, except admits that records reflect that Discovery

submitted a first-level expedited appeal of Cigna’s initial adverse benefit determination with

respect to Plaintiff’s claim for benefits under the Plan in connection with her residential

treatment at Discovery as of August 11, 2022.

          24.   Denies each and every allegation in paragraph “24” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that, by letter

dated August 22, 2022, Cigna upheld its initial adverse benefit determination on first-level

appeal.

          25.   Denies each and every allegation in paragraph “25” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

          26.   Cigna lacks knowledge or information sufficient to form a belief as to the truth of

each and every allegation in paragraph “26” of the Complaint.

          27.   Denies each and every allegation in paragraph “27” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that Plaintiff’s

counsel sent a letter to Cigna dated April 3, 2023 and that Plaintiff accurately quotes from a

portion of that letter.




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         28.   Denies each and every allegation in paragraph “28” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that, enclosed

with Plaintiff’s counsel’s April 3, 2023 letter were signed forms titled “Authorization for the

Release of Health Information” and “Authorization to Release Information and Records.”

         29.   Denies each and every allegation in paragraph “29” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         30.   Denies each and every allegation in paragraph “30” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         31.   Denies each and every allegation in paragraph “31” of the Complaint and

respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and maintained

by Cigna in the regular course and scope of its business for the contents thereof as to the facts

and circumstances recorded therein.

         32.   Denies each and every allegation in paragraph “32” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that records reflect that Plaintiff’s

counsel sent a letter to Cigna dated May 4, 2023.




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         33.   Denies each and every allegation in paragraph “33” of the Complaint and

respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and maintained

by Cigna in the regular course and scope of its business for the contents thereof as to the facts

and circumstances recorded therein.

         34.   Denies each and every allegation in paragraph “34” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         35.   Denies each and every allegation in paragraph “35” of the Complaint and

respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and maintained

by Cigna in the regular course and scope of its business for the contents thereof as to the facts

and circumstances recorded therein.

         36.   Denies each and every allegation in paragraph “36” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         37.   Denies each and every allegation in paragraph “37” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         38.   Denies each and every allegation in paragraph “38” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and




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maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         39.   Denies each and every allegation in paragraph “39” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         40.   Denies each and every allegation in paragraph “40” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein, except admits that the records reflect that Cigna

sent letters to Plaintiff’s counsel dated May 11, 2023 and May 12, 2023.

         41.   Denies each and every allegation in paragraph “41” of the Complaint as alleged

and respectfully refers to the administrative record pertaining to Plaintiff’s claim kept and

maintained by Cigna in the regular course and scope of its business for the contents thereof as to

the facts and circumstances recorded therein.

         42.   Denies each and every allegation in paragraph “42” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         43.   Denies each and every allegation in paragraph “43” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         44.   Denies each and every allegation in paragraph “44” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         45.   Denies each and every allegation in paragraph “45” of the Complaint and

respectfully refers all questions of law to the Honorable Court.




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         46.   Denies each and every allegation in paragraph “46” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         47.   Denies each and every allegation in paragraph “47” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         48.   Denies each and every allegation in paragraph “48” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         49.   Denies each and every allegation in paragraph “49” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         50.   Denies each and every allegation in paragraph “50” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         51.   Denies each and every allegation in paragraph “51” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         52.   Denies each and every allegation in paragraph “52” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         53.   Denies each and every allegation in paragraph “53” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         54.   Denies each and every allegation in paragraph “54” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         55.   Denies each and every allegation in paragraph “55” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         56.   Denies each and every allegation in paragraph “56” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.




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         57.   Denies each and every allegation in paragraph “57” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that Plaintiff

accurately quotes from 29 C.F.R. §2560.503-1(m)(8).

         58.   Denies each and every allegation in paragraph “58” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         59.   Denies each and every allegation in paragraph “59” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         60.   Denies each and every allegation in paragraph “60” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         61.   Denies each and every allegation in paragraph “61” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         AS AND FOR A RESPONSE TO PLAINTIFF’S FIRST CAUSE OF ACTION
                        (BREACH OF FIDUCIARY DUTY)

         62.   Denies each and every allegation in paragraph “62” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that the Plan is

governed by ERISA, that the Plan Sponsor is JPMorgan Chase Bank, NA., that the Plan

Administrator is JPMorgan Chase U.S. Benefits Executive c/o JPMorgan Chase Benefits

Administration, that benefits under the portion of the Plan covering the Plaintiff are self-funded

by JPMorgan, and that, at all relevant times, Cigna served as a claims administrator for the Plan.

         63.   Denies each and every allegation in paragraph “63” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         64.   Denies each and every allegation in paragraph “64” of the Complaint and

respectfully refers all questions of law to the Honorable Court.




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         65.   Denies each and every allegation in paragraph “65” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         66.   Denies each and every allegation in paragraph “66” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         67.   Denies each and every allegation in paragraph “67” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

       AS AND FOR A RESPONSE TO PLAINTIFF’S SECOND CAUSE OF ACTION
                        (DOCUMENT PENALTY CLAIM)


         68.   Denies each and every allegation in paragraph “68” of the Complaint and

respectfully refers all questions of law to the Honorable Court, except admits that Plaintiff

accurately quotes from a portion of 29 U.S.C. §1132(a).

         69.   Denies each and every allegation in paragraph “69” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that, at all

relevant times, Plaintiff was a participant in an employee welfare benefit plan (i.e., the Plan)

governed by ERISA.

         70.   Denies each and every allegation in paragraph “70” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         71.   Denies each and every allegation in paragraph “71” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court, except admits that benefits

under the portion of the Plan covering the Plaintiff are self-funded by JPMorgan and that, at all

relevant times, Cigna served as a claims administrator for the Plan.

         72.   Denies each and every allegation in paragraph “72” of the Complaint as alleged




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and respectfully refers all questions of law to the Honorable Court, except admits that the Plan

Administrator is JPMorgan Chase U.S. Benefits Executive c/o JPMorgan Chase Benefits

Administration and that, at all relevant times, Cigna served as a claims administrator for the Plan.

         73.   Denies each and every allegation in paragraph “73” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         74.   Denies each and every allegation in paragraph “74” of the Complaint as alleged

and respectfully refers all questions of law to the Honorable Court.

         75.   Denies each and every allegation in paragraph “75” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         76.   Denies each and every allegation in paragraph “76” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         77.   Denies each and every allegation in paragraph “77” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         78.   Denies each and every allegation in paragraph “78” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         79.   Denies each and every allegation in paragraph “79” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         80.   Denies each and every allegation in paragraph “80” of the Complaint and

respectfully refers all questions of law to the Honorable Court.

         81.   Denies each and every allegation in paragraph “81” of the Complaint and

respectfully refers all questions of law to the Honorable Court.




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                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

         This action and each allegation and purported causes of action asserted therein fail to

state facts sufficient to constitute a cognizable claim for relief against Cigna.

                              SECOND AFFIRMATIVE DEFENSE

         Cigna acted reasonably and in good faith at all times material herein based on relevant

facts and circumstances known by it at the time it so acted pursuant to the Plan. Accordingly,

Plaintiff is barred from recovery for her claims against Cigna in this action.

                               THIRD AFFIRMATIVE DEFENSE

         All actions about which Plaintiff complains against Cigna were either required or

permitted by the applicable law.

                              FOURTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to plead facts to support her claim for statutory penalties because

Cigna is not the designated Plan Administrator.

                               FIFTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to plead facts to support her claim for breach of fiduciary duty because

she only seeks to remedy an alleged individual wrong.

                               SIXTH AFFIRMATIVE DEFENSE

         Cigna’s purported breach of fiduciary duty did not cause any harm to Plaintiff because

her deadline to submit a voluntary second-level appeal or a request for independent external

review had expired before her counsel sent his first letter to Cigna dated April 3, 2023.

                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff did not submit a voluntary second-level appeal or a request for independent

external review within the time limitations set forth in the Plan.


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                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s recovery against Cigna, if any, is limited by the terms, conditions, limitations,

exclusions, and other provisions of the Plan.

                               NINTH AFFIRMATIVE DEFENSE

         The claims and remedies sought by the Plaintiff are limited solely to those provided

under ERISA, and all remedies and claims made by the Plaintiff not provided for under ERISA

are preempted.

                               TENTH AFFIRMATIVE DEFENSE

         The Court’s review of Plaintiff’s claims against Cigna is limited to the correspondence,

notes and documents contained in the administrative record kept and maintained by Cigna in the

regular course of its business.

                            ELEVENTH AFFIRMATIVE DEFENSE

         Plaintiff has not properly pled a claim for attorneys’ fees and any such claim is

unwarranted and premature.

                             TWELFTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver, estoppel,

laches and unclean hands.

                           THIRTEENTH AFFIRMATIVE DEFENSE

         Plaintiff failed to mitigate the alleged damages.

                          FOURTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims against one or more Defendant must be dismissed to the extent the

Defendant did not act as a fiduciary of the Plan or render any fiduciary determinations.

                            FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to allege the circumstances relating to the claims asserted


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therein with sufficient particularity to enable Cigna to determine whether it may have additional

defenses in this action. Therefore, Cigna reserves the right to assert such additional defenses if

they later become apparent.

         WHEREFORE, Defendants Cigna Health and Life Insurance Company and Evernorth

Behavioral Health, Inc. pray:

         1.    That the action be dismissed, or that judgment be entered in favor of Defendants
               and against Plaintiff;

         2.    That Defendants be awarded costs of suit incurred herein;

         3.    That Defendants be awarded reasonable attorneys’ fees; and

         4.    That Defendants be awarded such other and further relief as the Court may deem
               just and proper.


         Dated: September 14, 2023


                                             /s/Michael H. Bernstein
                                             Michael H. Bernstein (attorney-in-charge; pro hac
                                             vice)
                                             Robinson & Cole LLP
                                             666 Third Avenue, 20th Floor
                                             New York, New York 10017
                                             Tel.: (212) 451-2900
                                             Fax: (212) 451-2999
                                             Email: mbernstein@rc.com

                                             Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on September 14, 2023, a true and correct copy of the foregoing

was sent via the Court’s CM/ECF system pursuant to local rules to:


             Amar Raval
             Berg Plummer Johnson & Raval, LLP
             3700 Buffalo Speedway, Suite 1150
             Houston, Texas 77098
             (713) 526-0200
             (832) 615-2665 (Fax)
             araval@bergplummer.com
             Attorney for Plaintiff

             Dated: September 14, 2023

                                                      s/Michael H. Bernstein
                                                      Michael H. Bernstein




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